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                                   EXHIBIT 1
      TIEF~:N~►Al~'1` Y.~+'. C:HAIVC~'S CHt1VA ~~S`I'RO, INC.'S FILING OF NOTICE OF REMOVAL
                                             OF CIVIL ACT10N
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  2a7 West Third Sirr.~t                                                                                                                                       _._~__._.
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         1$ ~HANSU~ KAt~ft~, ~t individual, and on             ~ CASE N~7.: CiVDS1~3 t 220
                be~Ifc~fAther titCmbeY& affhe ~enAral public
         19 sim'stc~riy sit~uatcd;                               CLA55 ACCT"Y4N
         20                   Plaintiff`,                        FIRST' ANlEP~l3~t? CLASS ACTYUN
                                                                 Cf)M~''LAi1VT' ~iJR:
         2l            vs.
                                                                  J. VTO~.AT~~IY 4F ~~JSii'+f~'.SS AN?~
         22 1'.F. CHANCE`S ~F~tNA ~iSTRt3, CND, en                   PRt1~'~S~ION,S CODE ~172g0, e~seq.
            I Arizoa~a c~rparation; end ~}d1:8 l-I00,             ~. ~►j'E+Q~~TIf)N €y~` HCISlN~SS Al'~[b
         2~ f inclusive                                              pRf?1~~SStUNS C{'1D~ §1750U, a1seq
                                                                . 3. 'V~BI.AT~()N ()F CA~.I~pRNIA Ct'W~~,
         24                   13~fenda~ts.                           CODE § Y 754. et seq.
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        1 '.              E'laintiff Chansi~e Kang ("Plaintsff") alic~es the fa{It~win~ lased upon perst~na! knowledge

       ~ I as tU himself anc~ his nwn acts, and upon information end belief ar~d the invcstig~tior~ by Plaintif7's
       3 i c~us~sel, Plaic~tif[' believes that substantia6 additional evident
                                                                              iary support exists for the alf~gations
       4 sit ~'or€h herein and will be available after a reas~rn~blc opportunity fr~r discovery.
       S
       ~i              1.       ~I'~is aciicrn see4cs tc~ remedy the unfair, deceptive, a~td uniavafts) business practices
       7 ~fP,~'. Chan~,'s China ~3istra, Inc.(:`Defendant" or ~`~,F. Cl~ang,s„} «pith respect to the
               adultert~tian of €'aod ant! the false adv~rtisin~, ~r rnisbrar►ding of food items, Specifica{!y, during

     9 the Class Perinci (defined betor~), P.~'. Chant's employed a t;lassic bait and switch ts~ctic whereby
    1(~ it fal~~ty labeled end adv~rti~ed food ~roducEs containing crib an their menu, when in fact, n~ crab
    1] rne~t was present in the product.
    12                2_        P.~'. ~h~n~'s is an tlmeric~t resta~ar~nt ~arnp~ny based in Scottsdale, Ariz<~na. It
    13 awns or franchises aver 300 Chir~~s~ cuisirt~ restaurants arc~urtci the world. P.H. Chang's setts food
    14 I ~t~ms containing "grab Mix" can their menu, inc6udin~ but not fimit~d to Kung l~ao Dragon Roll,
   I S Shrimp Tempura RQlI, anctlt~r California Roil (hereir~af~er the "F`ood F'rQduet(s}„) at ~y and all of
   l6 their facaiions in Califortt~ia during the Iast ~'aur years.
   17                 3.       In connectir~n with the sale of the Food Prodtacts, P.~~, Ct~ang's has engaged its
   1 ~S unfair and deceptive practices constitutirt~, violations of the Ct_,R.h by representing; that
                                                                                                               the KraB
   19 Mix in the ~~~d Products resembles crab rt~e~t, is equivalent to crab meat, an~i/car contains crab
  2p meat, w~eri in fact r~c~ crab meat exists and the Krab Mix is nutritian~Ily inferiac t€~
                                                                                              crab meat.               I'.F.
  21        Cha~r~~9 s has ~here~y misled and deceived its cusfarr~~rs iota
                                                                                  believing that tEte Foal Products
  2~ contain actual crab m~aE, and Ft~s intentionally misbranded the Food [~rociuct
                                                                                    s               by using; imitation
  ~3 crib- meat in the Food T'r~duct~.
  24                 4,        As such, P.F. Charm's hss eonc~ai~c#, suppressed andle~r misrepresenf~d
                                                                                                              through Tf~e
  ~S in-store and online menus regarding the cantertts of the Food
                                                                                   Products in vioiaiion ofCivi{ Gode
  26 section E X70. Tf~e carnpar►y also has engaged in unfair
                                                              business                practices under Business and
  ~7 J~rc~f~s~ions CQd~ s~~tie~r~ 172~{), ec seq., engaged ire
                                                               take advertising, €rood, nr~gligcnE
  2$ n~isrepresentatian and rebated viaiatinns. P.F.
                                                     C:har~~'s             has represer~ied that the ~'opd .Products
                                                                     2
                                                     ~t,ass ~c~-rc~~v c-c~rv~r~.~►~~r~r
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         1     h~v~ ch~►'~cteristies and ingredienEs which they do nt►~ ha~+e, It also rcpresentcd that the food

       2 Araducts are of a p~rticutar si~►ndard quality or grade, v+~hen they are not.
       3              5.      The ~'o~d Products are cfis~layed with pricing, and in~rettient information; hov~ever,

       4 the ingredient i~~E'ormatian is false and deceptive.
       S              b.      ~Jh~n pt~rch~s~~s~ the Foac~ 1°r~~ucts €`gory f'.~'. C~San~'s, ~'Oainti~i'f 3ic;ii ~n

       6 I~efend€►nt's misre~resenta~ions ott the Menu, PEaintiff~~nul~3 nvt have purchased the various Food
    '7 Pro~iuets had he [cnc~wn that I'lefendant's r~presenEations were false and misleadi~~,
                      7.     DefendanC's conduct af' laEsety marketing, advcr~ising, labeling, and seliin~ its

    9 ~~o~d ('roducts cons€itutes unfair, unlawfuE, aijd ('caudut~:nt conduct; is likely ft~ deceive members
   t4 of the ~ubEic; end is unethic<~1, a~pressiv~, unscrupulcsus, ~ndlor substantially injurious to
   11         cansum~ss, because, amc~n~, tither things, it misrepresents the char~ctcristics oC goods ~»d services.

   12                S.      P.~'. Chant's int~ntionalty cor►ce~}e~ and fail~cd ter disclose the truth abouC its
   l 3 rnisrepres~n#Atior~~ and false ad~fertising s~h~ern~ for the purpds~ of inducing Plaintiff and others
   l4 sirtiil~rly situated to pureh~se the Fo€~c1 Products at P.~'. Chang's,
   15                9.      Through its f~Is~ and deceptive markefingr advertising and pricing scheme, I'.1~.

   i b Chang's vic►iai~:d (and continues to vioi~te} Cali('ornia taws prohibiting ~dvcrtising goods tar sale
   l7 ofprices which are false. Sp~citic~lty, D~FendanC vit~Iated (arid cantinue5 to violaie} Califotnit~'s
   ~ $ F.3usincss 8c I'rof~ssions Cbcie §§ 17200, ct seq. (the "UAL"), California's 8us'tnes~ &Profes
                                                                                                      sions
   1~ Ct~de: §§ 1750(3, et seq. {the "FAL"}, the Ca1i~'orni~ C~nsurr~ers' Legg! IZer~edies ~1ct, Ca}ifom
                                                                                                         i~
  ~0 Civ}1 Code ~§ 1750, ~t seq.,{ti~~ "CLRA"); the warrant+ {awe o€California; California cc~tnm~n
  ~ 1 la~v; Florida Deceptive and Ltnfair Trade Pra~tice~ Aet, l~la. Star. Ann. § St~~
                                                                                                    .201, et seq.; and New
  ~2 York ~3er~ptive Acts axed Pr~ciices r~ct, ~I.~'. Gen. Bus. L~~,v § 349 et seq.
  23                 It?.   Plaintiff, irtdividt~ally end on behalFafa~l ethers similarly situated, seeks restituti
                                                                                                                           on
  ~4 ~ ~ncf other ~quitabl~ remediesA including an injunction under the tJCf~ a«d F~1L;
                                                                                                        and restitution,
  ZS ~ clarn~,~es and an injunction «nderlhe C~,tt~.
  26                                             JU~LIS~71G'T'~1~N ANA "V~NC►E
  2~                l!.     Tl~ ~ Mass actit~n is brought p~rrsuar~t to tie ~alif~rr~ia
                                                                                           Code ofCivil ~'rac~dure
 :L~ f       section 382. ~`h~ monetary darn~~~s ~n~ resiitufion
                                                                 so~rght by        Pla~intiffexceeds the minimal
                                                 __                3                           ---_..       ~a_
                                                      ct.~ss acr~vr~ ca~~~a~~v~r
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         ,jurisdi~Eian limits offhc Superior Court and wi11 be estabtish~d acet~rdit~~ to ~rt~of ai trial.

                    1 2.     `T"his Court has jurisdiction aver this actinn pursuac~t to the California ~onstituti~n,

          Article V[; Section 1 ~0, which grants the superior court "original jurisdiction                         all ath~r causes„
        ~ except those liven by ~tatut~: tt~ other courts. "I`he statutes under which this actit~n is brought do
         not ~pe~:afy any ~t~e► ~~s~s fo~~~~i~dictior~.

                   13.       `Phis (~Dort has jurisdiction over the named Defendant and C~aES l thrt~u~;h t QO

     7 ~cr.~.~~sc, upon inforn~atiun and b~ti~f, Ueiendant has stiff€cier~t minimum contacts witi~ the Stale
         of~alifarni~ or otherr~~ise intentionally avail themselves of the Cali('ornia rnarkei so as icy rencEcr

    9 t~►e exercise af~jurisdictian over them by the California courts consistr;nt with traclitiortal rtotians of
   T fair ~I~y and substantial justice.
                   14.       Venue is prt~per in this Court because, upon informatit~n ~~~ci belief, C~efertdan!

   12 tna~ntains offices, hay agents, andlvr transacts business in the State of Ca[~fomia, County a3' San

   1 3 t3ern~rdina, aid the acts and t~missions alleged herein took place in the State of'C:alitornsa, County
   1~ a~'~ar~ 8ernardin4.
   1S                                                              PA 12T11~~S
   16              1 5.     Pl~intift` is ~n individual and consumer residing in the State of Calif'€~mia. During;

   17 tl~~ Class Per"sod, Plaintiff purchased Fovti ~'roducts from P.F. Ch~n~'s locations in California,

   l$ including locations in tPte Ctty of 1"orranc~.
   l9              ~ 6.     Prior fEr ~SurCh3sin~ the food ~'r0(3uCis, t'3ai~~iiff read ar3d relied upon false and

  24 misleading st~t~en~~nts that were prepared by and/or approved by Defendant and its ~~ertts and

  21    d issernin~ted through hard»copy and online minus, Far each purchase, he understood that he c~~as

  22 paying a particular price far a particular itettY ar~c4 was elcccived whin he r~ccived an itert~ other

  23 than that labeled and advertised. Plaintiff ~~t~u}d not #t~v~ purci~ased the Food Products, at~dJor

  24 would not have p~iti a premi~azn for Ehe load Products haci he known the true quality and
        F CI~T'~C~1~11iS L?~~~le ~`Qbfl PCCICIUCIS. P~1fTl~1f~~I'1US Vl'~S
  ~~                                                                       (~dril~~'4'(~ I7~' ~~~~~'[C`~~III's   pr~cEice,
  z~              17.       ~'.1~. Chang's i5 an AriCona cOrp4ralion witr ~ prinCipol p}eCe of buSirt~ss in
  ~7 Scottsd~Ee, A.rizt~r~a, [~.H". Ch~ang's tEistributes, markets, adver~ist~s, and
                                                                                                     yells in-stare fond items at
  28 its stores rn ~a[ifarnia and throughout the rest of the United St~~~s.

                                                       Ct,a:~s ~~'~~t~~v ~d~vt~~,aa~v~
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                    1$.     'I'he use o~the terns =`Defendant'' in any nfthe a[iegations in this Complaint, u~~less
        21 spe~ific~lly alleged tstherv~~ise, is intended to incl~4d~ and charge, bath jointly and severalip, ~~at
       3 o►~!y the Defendant identified itt this Cornp(aint, but also ail Defendants designated as DOES
       4 thrc~u~h 140, inclusive, as though the term "Defendant" was hallowed in each end every instance
       S t?~x~~ag~ouc ~~:s ~~rr~pl~mr~t with t"e phrase "aid ~ac~ ai t~z~~ri ~c~infly anci severally, inc(uc~in~; the
       6 ~ narned Defendant and Defendants included herein and sued underthe f,ctitious namesot'D(?E ~ i
       7 ~ through f 00, incl~tsiE~e."
                    ~ 9.    f~lainliff'is in~orrr~ed arxd believes, and thcrc:on alleges, that Dcf~ndant, at all tizri~s
       9 herein rnentioner~, were thy; partners, joint venturers, subsidiaries, succ~ssar~ in Interest, tnana~ing
    1 0 ' a~~.nt, merged entities, a~cnts, ~rPt~r etas, part of a jointly ar~vned, managed, ~ndlor operated
    l l business enterprise, andlar ~mplvyees of~ach at}~er ~efertdant and in doing;
                                                                                  (T the acts, omissions,
                                                                                               t3


          and things alle~~d herein wire acting as such and within tt~e scope of their authority as such agents
   1 3 and er~nployees and with the perrr~i5s on anti consent oi`all other ~}ef`end~ni_ Plaintiff is infc~rmeti
       I
   14 ~ and be[~eves, and thereon a[le~es, that i~et'endant has, and ~t al(~imes herein rnentiorred hacl, a
   I S joint ~canornic and business. "interest, g~aI and purpasc in the products that ire the sub}ect of this
   1b lawsuit.


   38             20.      Ptainti~` is in~'oa-me~3 ~cf believes, ancf based theretin alleges, thaF at al[ relevant
   19 tirr~~s crtentictned i~~ this Co~nplairtt, i~efertc~ant has tiwne~i andfc~r operated restaurants in the State
  ~Q o#'C~liforz~ia, inciudin~ in the County fl~ San E3er~nardir~a,
  21              2l.1>IaintiFf'is informed and believes, end based thereon alleles, that l~efend~nc fail to
  22 disclose in their mei7us ti~at the Ft~c~d Products do not ~c~ntain real crab meat.
  ~3              ~2.      At all times rncntic~ned ire this C~rr~plaint, ~?efcndant through their minus Nava
  24 s~.~ppress~d ~znd conc~al~d and continue to suppress and c~or~ccsl the fact ihai the
                                                                                          food             ~'roducts do
  2 5 not contain t;r~b n~~~t. For example, defendant do nt~t state ~r~ywhe
                                                                            re ~n t}jeir restaurant ar in their
  26 in-store menus that the Foad Products cia not Gc►ntain crab meal.
  27             23.       C~urin~ the last t'c~ur years, plaintiff purchased tyre ~'oc~d ~'roduct
                                                                                                   s, ~tirpartedly
  28 containing; crab meat at the restaurant awned, operated or rnana~cd
                                                                                      by defendant, specificaEly l'.~.
                                                                  5
                                                  CLASS AC'i'I(31V CE)MPLAtIVT            m
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        I ~han~,'s EocatEd at 352 Orson Street, Tarra~~cE, in the StAte of Californrn, believing
                                                                                                 ~n;d having
        2 been ted to believe that the load Products actually cc~rzt.~inMl ~cra~ mc~t,
       3            24.     At af! times hcrc~n rei€vant, when Flaintiff`purch~sed the f~aod products,
                                                                                                       he ~~s
       4 exposed tee Defendant`s in-sic~r~ minus, which tiid ncrt disclose that the C`opd F'roduc
                                                                                                      [s did not
       5 ' ~s~tai~s ee~b ~~t. `d'c~ ~~s d~~r~~e~rt, f~#z~ir~tif~i'reiied upon these in-store menus when
                                                                                                        pttrcltasin~
       ~ i and consurni~a~ the ~'a~d Products.
         i
       7           25.    plaintiff is infvrme~ ~~nd believes; end based thcrean alleges, that Detend~ni's
       8 concealmenE o€'tlje fact that the Food ~'rt~duc#s da not contain crab meat and being; explici
                                                                                                            tly
       9 infarrr~ed b~~ f.77~tendant's in-store menus that the Food Products contain crab n~e~t, was the
      1 Q ienrnediate cause of i'Paintit~fand tht; othce cuss members c:c~nsurr~in~ the Ford f'rod~z~:ts.
   1]              26.     In tight ~f~I?e~~atdant's representatians ~u~d omissions, as alleg~i herein, re~;~rdin~
   12      T~t~ ~bOf~ pCCst~UG~S, Plaintiffand      members of ttte putative class reasonably believed that the Food
   1 ~ 1'rociucts cc~ntain~d crab mea€.
   14             Z7.      t~laintiff rs inf`c~rmed and believes, antf based thereon all~~;es, as a resuEt of
   I5 i~efcr~d t's false and misl~~ding repr~sentation~, as atleg~c~ herein, Plaintiff'' has sut`f~~r
                                                                                                      ed d~rna~;         ~s
   I ~i including, but not limited to, tnone~ary loss, caused ~y the E'aet h~ was misled by lletenc
                                                                                                            iant's in-
   f 7 std~e ~nes~us rntn purcfta.5ing and consuming the t~"ood t~rc~ducts, whiG~y did ncrt contai
                                                                                                   n crab meat.
   1$                                    CLASS A+~TtON t1~~,~~~iTl01~iS
   19             28,     Plaintiff brims this actin individu~fPy and ~n behalf of all other ~~esons similar
                                                                                                                    ly
  2f~ situate pursuant to Cali~c~rnia Code of'Civil I~rQc~tiure 5e~ti~n 38~. T'he
                                                                                              Classes which ~'kaint3f£
  2I seeks to repr~senE coznpr~s~:
  2~              dal far~ia Mass
  ~~             All persons in California who p~rchas~d ~oncf Pr~dt,cts from
                                                                                       P.~'. Chang's for
  24             pers~inal or aus~hold c~nsun~ptic~n, and oat for resale or
                                                                                  dEstributior~ purposes,
  2              than t~.F. Chant's ~rru i~be(cd tc~ contain "Krab Mix,"
                                                                               betwc~n 4ct~ber 23, 20l 5
  26             and the date ol'judgm~nt in this action. ~peci~icaliy
                                                                          excluded from this Class ire
  27             P,~'. Ch~ng's; the officers, directors, or ~rnpla
                                                                   yees c~l`N:~'. Ch~ttg's; any entity in
  2~             which ~'.F. Chant's his ~ c~ntroliing interes
                                                               t; and       an}r affiliate, le~~l
                                  _ __.__ _ _ _ _                  6
                                                     CLASS AC"T10t~! CUE~9PLAIIVT
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         1          representative, heir, or assign cif C'. F. Chant's. Also excluded are those w}tQ assert
                    claims #or p~rsr~nal injur}t as ~+e!! as an,y f~der~l, state, or( cal ~,av~rntt~Gntal
        3'          entities, anyjudiciat a~rcer presiding aver this action and the members vf`his/her
        ~I
                    i mmediate family and judici~[ staff; and any jurt~r assigned to this action.
         i
        ~~          S~atc ~azr►s~ax~er Prr~t~ct~i~n ~~ass
     f~            1~1I1 ~sers~ns in C~iif'tirnia, ~larida, ar N~~j Yank who purchased Food Products
                    frarn !',F. ~han~'s for p~;rsc~nal car Prtousehalc~ consurrtptian, and not fflr resat or
     8             distribucior+ purposes, that P.F. Chang's menu I~beEed its contain "Krab Mix,"
     9             6etw~ecn October 23, 201S and the date of judgment in this actiar~. Specifically
    10             excluded from this Ctass arc P.F. Chant's; th€ officers, directors, ar employees of
    11             P.~`. Ch~ng's> any e~ttaty in which I'.t`. Chant's has a eo~tro{lin~, interest; anc~ any
   I2              aftili~te, teat representative, heir, €~r assign oC!'.F. Chant's. Also excluded are
   ~3              those who assert Maims for personal rnjury as well as any federal, state, ~r local
   14              governmental entities, any judicial officer presiding;
                                                                       t aver tt~is action and the
                                                                       ;
   IS              m~mb~rs of J~islher irnmed~ate family and jut~icial st~f'f; and any juror assi~;nc;d to
   l6              this action.
   17              2~.     Piair~ti~'res~rve;s his rights under California Rule af'Court 3,'7~ytb} to err}~nt~ car
   1$ I' modify the Class def~rtitic~rts wiEh ~redter spe~:it"icity or fca~h~r division into subclass or (imitation
   l ~ to p~rticuiar isstie5.
  2{~              30.     1't~e C~asscs are suffici~~~tly num~r+~us, as it includes thousands of persofys who
  2I ~ have purchas~cf the ~`c~od F'roriuc~s. ~'hus, joinder of such persons ire a single action or bringing
                                                                                                             al]
  2~         ~:mbcrs of the Class~5 before the Ct~~rt is irt~practicable for purposes of Californ
                                                                                                     ia bode cif Civil
  23 Prc~cedur~ Sectir~n 38~. 7h~ question is one of a general ar cornn~on interest
                                                                                    of many              persons ar~d
  24 it is ira~practicat to ~rin~ ti~em aIE I~far~ the Curt. 1,}~e tiisp~sition n1'the claims
                                                                                              ~f the rnemb~rs          of`
  25 the Classes in this ctass a~tit►n wifl substanEi~ily benefEt both the
                                                                           part~~s        and tl~e Ctiuct.
  2{>             31,     Plaintiff will fairly and ~degr~ately re~res~nt and protect the interests
                                                                                                       of the otF►cr
  27 members crCe~ch r~s~~ctive Class tvr purposes ot'Galifi
                                                                       ornia Code afCivil Procedure Section .~82,
  28 t~lainti(~'has na interests anta~anistic tt~ ~has~ ofotl~er member
                                                                        s of'~ach r~s~ective Class. Plaintiff'
                   ------ - . __ _ __                      7
                                                 ~'LAS~ ACTION Ct33Vj'PLAiJYT
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         ~       is committed tv the vigUrvus prosecution of this action and
                                                                                     has ret~in~d counsel experienced in
         2 litigation of this nature to represent her, l'lainti~f~nEicipat~s no
                                                                                         diffic~3lty in the rrt~na~em~nt cif
         3 this 3itigation as a cuss aciion.

        4                3~~        Class certification is appropriate under California Cody of Civil Proced
                                                                                                                  ure Section
    5 382 be cruse ~e~'ers~£ar~t has acted vr~ ~~~a~~nds that appiY ~eneraliy to each
                                                                                      Ctass, so khat f'inai
    6 injunctive relief or corresponding dcclaratary relief is approp
                                                                        riate r~spec~tin~ each Class as ~
    'T whc~te. t~ef~ndant utilizes an iiite~rared, nati€~nouide menu label ih~t
                                                                                incfude~ uniform
    $ misrepresentatians that misled Plaintiff and the ether mernber~ of the
                                                                                  Classes.
        9              33.          Cf~ss ~et~'ifi~atior► is ~pprt~Esri~te under Celiforni~t Code of Civil I~rgt;edure Section
    r p 382 bcc~use common questions of ~avu anct fact ~ubs~~antially predominate aver
                                                                                       any ~ucstians that
    11 rna}~ affect only individual ~iae~nbers of t}~e Classes. Aman~ these common qu~stic~ns of la~~
                                                                                                                        anc~
    12       f~cr are:

    l3                          a,          t~Vherher L~ef~r~dant engaged in a ~~ttern or practice of concealing,
   I4                                      sup~ressit~g a~dlor rr~isrepresenEir~~ in their menus tt~e fact that the food
   15                                      Products da not act~zalCy contain craE~ m~;at.
   Its                          b.         WhethE.r Defendant engaged in a pattern or practice of ct~nce~ling,
   l7                                      suppressing      d/ar tnisrepresentir~g [he sour~~y q~aliry~ andiar method t~f
   18                                      obt~snirz~, the ~'c~~d Products,
   1~                          c.          ~he~}~er Def~r~dant thereby+ en~a~,ed in consa~mer fraud, deceptive
                                                                                                                    trade
   20                                      prartic~s, ar other unla~%fu! acts.
   2I                          d.          Whither ~;l~ss Merribers ire entitled to rian~a~es including punitiv
                                                                                                                   e
   22                                      darn~ges, restitution, dds~ar~~ment of pr€~fits, a~7d injune~ive
                                                                                                              relief, and the..
   23                                     proper measure, nature ar~d ~~ter~t 4r such relief',
   ~4                          e.         1~he€her the Plaintifl'~nd the Ctass Merr►b~rs sulCered monet
                                                                                                        ary, ~ener~l,
  25                                      cansequenti~l, and speciat damages and, ifso; what ~s
                                                                                                the measure of those
  ~~                                      damages.
  27                           f.         Whether 1'l~i»tiff~d mety~tbers oflhc Masses art e~~titled
                                                                                                          to injunctive and
  ~$                                      other equitable relief:
         _-___                                        --------- -.._    8
                                                         c~Ass ae~-~o~r cc~n~p~,n~rrT
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       1                        g.        ~'Etether t~efead~nE were unjustly eruiched ley iheEr conduct.
       2.               3~#.    Defendant en~ag~d in a ct~mmon course of conduct givir~~ rise to the
                                                                                                     Iegal rights
       3 snu~ht to be~ e.nforced by the rn~rnbers of the Classes. Similar r~r zcientic~{ ~t~tutE~ry
                                                                                                    and common
       ~ {' I~w viol~l~ons and deceptive business praetic~s are ~nvalvexi. Indivie(ua1 questions: if any, pale by
       ~ ~ c~m~~risc~a~ ~a~ t#~~ r~~mer~us ~c~mrr~€~s~ q~stior~s ghat greci~rt~ir~ace.

       6               35.      "1"he inj~rries sustained by Plaintiff end the members of tl~c Classes flow, in each
               instance, fr6tTt d c~inttlfln EiUcIcUS O!'operative facts m i~efe;ndant's mascondtic~.

       8               ~6.      t~laintiffand the mernb~rs oCth~ Classes have been damaged by Defendant's
               rnisGonduct. "('hN   m~cnbe~S of the ~IaSs~s have p~it~ f4t a prOduGt th~tf would
                                                                                                 not hive been
     ~(}       pUCC~l~15~C~ 9I~ t~i~' ~1~7SCI1C~ p~~~efend~nt's decepti~~e scheme, or, alterna~ivefy,
                                                                                                      would   have been
    I I ~ purchasetf ~t a lesser price.
    12 !               37,     Proceeding as a class action provides substantial beneCts to bath the pariie~ and the
    13 Court because #his is tkre r~~vst eFficient rnefhocf fpr the fair and efficient adj~ctication of the
           i
    I4 '~ contrc~v~esy. tv#embers of the Classes have suffered and will suffer 'rrrepara~le hams anc~ dama~,
                                                                                                                          es
   l5 ~s a result oi'Defendant's wrongful ct~nduct. Because of the nature of the intiividua! claims
       I                                                                                              of the
   !fi ~! members at'tl~e Masses,few,if any, cc~uid ~r would othenuise ~f~ford to seek le a(
                                                                                             redress a~;ait~st
    t7 ~ 1~efenc~ant fur the wron~s~e~mptairted ref herein, and a representati~~e class action
                                                                                                        is there6are the
    1 ~ appr~p~iate, superior method of prc~ce~din~; and es~ntiai try the ir►ter~~ o~'.just
                                                                                   ts        ice insot~r a~ ti~~
    I~ rest~lue~on af~Eaim►s of the embers rif the Classes is c~ncemed. Absent a represe
                                                                                                 ntetive class
   20 action, members of the ~:~asses ~r~c~ufc! continue c~ suffer {asses for which they wouCd
                                                                                                      have no
   ~l f remedy, and I3efend~lt would unjustty retain the proceeds of its ill-~~tten gins. Even if
                                                                                                          separate
   22 actions could be bro~~ht by individ~a! members a~ the Classes, the resulting multipl
                                                                                                   ieit_y of
   23 lawsuits v~t~~~6d cause und~t~ hardship, burdec~, and expense for the Court and tttc
                                                                                               Iitigar~ts, as w~l! .
   24 as create ~ risk of inconsistent rulings, ~vhsch might be dfspositive t~f` the
                                                                                      interests of` the other
  ~S members cif tl~~ Ctttsses who are not parties to the ~djud`t
                                                                  ~~tions            andlor may substaj~tially itnped~
  ~~       their ~bility~ tt~ pr(3ttCt Chetr it~tCCeStS,

  27

  ~8

                                                                  9
                                                      Cass ae`r~or~ con~tt~~,at~tT
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          r                                            ~F~tsr ca~u~~o~ ACT~r~ry
         2               ~ U~'FAI~t, UN~,A'1~►~i~UL, AIVll r~2AUflUl.~NT E~UStN~SS PKAC
                                                                                                              TICES
         3                    ~N V14LA~'~UN t3F 13U~IN~SS & PiR~~'~SSIl~IV~ CC)UC§ Y'~2D0,
                                                                                           et seq,
        4                             (By Plait~t~ff ar~d the ~alitarn~a Glass ~g~'rrtst Defendant)
        ~               38,       f'I~i~atiff rep~~ts a~~~ reaEi~~~s the afiegations set forth ab~rve end incr~rporat~s
                                                                                                                        the
        6 same as ifset forth herein at length.
                                                                                                                                        j
        7              34.       'Phis cause cif action is brau~ht ~ursuanc tt~ ~3usiness and Prc~fessians Crsde § 172Q0,
        8 et seq.
                                                                                                                                       i,
        q              40.       In the labeling ~r,d ~dvertisirtg of its load PrUdtitets, Defendant makes Eals~ artd                  i
                                                                                                                                       ',
     1 4 €nisieadin~ staiernents regarding the ~r~~redients ~t'proc#ucts. SpeGilica!!Y, l~e4enclan~ labc(s
                                                                                                        and
                                                                                                                                  i
    1l aclv~rE ises {by omissir~n or commissitrn} khat tie C~ooc~ Products eor~tairt rya! crab meat wren
                                                                                                         they
    12 do not.
     t3                ~ 1.      T3efendant is aware cif the representations it makes regarding the ingredients ~n its            i
                                                                                                                                  ',
    ~ 4 menu are fuse and rnisE~adin~.
    t5                 42.       ~s alleged in Ehe pr~ced~r~g pawgraphs, the misrepresentations by Defendant ~f`the
    ~ C materiat facts detailed above cc~r~~tiit~te art unfair and fraudulent business practic
                                                                                               e within the
    ~ 7 meaning o1' California Business 8c C'rofessians fade ~ 17 00,

   18                 ~3.       '~'herc ~~crc reasonably av~il~ble alterrtativ~s 10 further Defendant's l~~itim
                                                                                                                ate
   19 brasiness int~r~sts, at~ier tly~n Che conduct des~ribec~ ~~eresn.
   24                 44.       till of the cnnduci all~~ed herein occurs anci continues tee c~ecur in C3efen
                                                                                                                    d~nt's
   2]         b~isiness. I~e~er~darzt's wrart~ful ConduCi is part of a pattern ter gett~r~
                                                                                                lized course of` canducc
   22 repeated on thousands cif occasions daily.

   23                 ~5.       Pur~uag~t to $usiness & Professit~ns Coyle ~§ 17203 end I7535, f~lasntrff~and
                                                                                                              the
   24 rnemb~rs oi'th~ Class seek an order oftltis ~o~rt enjoiriin~ Defcnd
                                                                          arrt from cc~ntinuin~ to engage                     ,
   Z S ~s~, t3t' ~tri~}I4~ tI7~1C ~3#`3CYiCe 0~ ~fIVCi`E1S1~1~ "fhb Sa~~ OF t~~32'
                                                                                     ~Ot3t~ ~#COt~UGT5. Likewise, Plaintiff and
  ~6 rE~e members a~the Class seek an order requiring Defend
                                                                       ant to disclose stacl~ misrepr~sentatioz~s,
                     t
  ~ 7 ~n~ additionatiy oreq~aest an arcfer ~~~vard'ang
                                                       I~l~intiff restitution of the money ~vron~fully acquire
                                                                                                                 d
  ~~ by i~~fendant by rr~ear~s ~(`res~onsibility
                                                    attached to ~?ef'endant's failure to disclose the
                                                                                                        existence
                                                             l~
                                             cc,~~s nc~rtory er~n~v~.~~~v~r                              --
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          1 and s~~ni~ear~c~ of~aid misrepresentations.
        2                                          S~CC?Kll CAU~~: E1F AG"'~"CQN
        3                                  FALSE AND !1~IS~.~AD~1`~G AI3VERTISCI"V~
        4                   IN VIL3LA"I`ION 4F B~.tSINESS ~c PR~~ESSI(J1~IS CQDE § 175Q0, e!seq.
        S                           (~3~ rRae€~~fla~c~ the ~~iiiornia C~:#ass ag~►nst i?et'~nc#ant)
       6              4~.       PiasntiFt~rep~ats and realleges the allegations sit forth in the pr~~ceclin~ ~~aragraphs
       7 ~,i artd incorporates fhe same as i('set forth herein at length.
       8?             4 7,      This cause t~f action is beougljt pursuant t+~ ~3usiness and Professions Cr~cie § 175t}0,
       9 ( er seq.
     l(~             ~~.        As alleged above, E7efcndant made untrue;, faEse, derr.~::pEive and/ar ~~tis{ending
     11     statemer►ts in con«ecti~n with the Labeling and advertising of the Food Prod«cts.
     12              4 9.      Defendant made representations and statements (by emission ~~tttd comrr~iss►an} that
    !3 led re~.~anabte customers to believe that they ti~ere pur~chasin~, items captaining crab, when in fact,
    l4 na crab meet was present in the Load f'roc~ucfs.
    ~5               50.       I~~fendar~t further deceptively filed to inform Plaintiff and members Qf the Class
    If tt~~t the I`ood 1'r€~ducts did not contain any crab meat.
    ~7               5i ,
                       E~lair~tiff and members of the Mass r~li~ed to their detriment on D~fendar~t's false,
    18 misleading ~rrd deceptive advertising, ~tnd mar~tetir~~ practices, including each of the
       r
    ~9 r~~~sr~presentations ~r~d c~missi~ns set ft~rt~r above.
   24                S2.       dad Pl~intiffand r~embc~•s of the Class been adequ~te(y informed and not
   2I intentionally dcceiv~ by ~~fend~r►t, they would have acted differently b}l, ~rith€~ut limitatio
                                                                                                      n,
   22 refrainiri~; from► ptarchaSirt~; the food Pt4deicis ter paying Tess for them.
   Z3             53.          ~3ef~nc~znt's acts and c~missior►s are likely tc~ deceive the generat public.
      f
   24 ~           54,          l~~fend~r~t engaged in these f~Ise, misteadin~, ar~t3 cieeepti~e advertising and
   25 ~nark~ting ~ractic~s to incr~~s~ its pra~ts. ~4c~ardi~~ly, Defendant
                                                                                       his engaged in False
   2f advertising, as defined and prohibited by section i 75Q~0, ~t
                                                                    seq.           af'the ~atifornia Business acid
   2~ f~rof~ssirsr~s Ct~d~.
  2$              55.         The af~r~merttian~d practices, which ~efentiant us~~t,
                                                                                         and cotstinue tc~ use, to its
                                                                ll
                                                    ~~.~ss ac~io~~ C'(J►MPLAI~IT
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                       •
                                                                                                                                   I




         ] significant firiancia! gain, ~lsn constitutes uttlawfu[ cQmpetitian ar~d
                                                                                         provides an unla~~fu!
         2 advantage over Defendant's corrrpeti~ors as well as injury to the ~ene~a3 publr`c                                   I
                                                                                                    .
        3             SG.     Pursuant t€~ Business &. Prr~f`essians Ct~de §§ 172Q3 and 175 5, Plairsti
                                                                                                        ff and the
        ~ rr~ernbers t~f[hc Cl~sscs seek an order o#'thrs Court enjoining Defend
                                                                                 ant from           continuing to
        S e~~a~e, Esc, c,r ~~ptt~y €heir przctice af`~d~~ertisin~ the saie and use of D~fenci~nt's
                                                                                                            Food E~rod~aets.
        6 Likewise, ~~ttzrttiffand the rrtembers of tEt~ Cuss seek an order reQuiring [~efendanl.
                                                                                                            tt~ disclose
        7 such misrepresentations, ~ncl ~dditic~n~lEy rEquest art. a~der aw~rddn~ t'l~€miff restitu
                                                                                                            tion o~`the
        8 money wrongfixfly acquired by Dcfc:ndant by means of'responsibiliry attaeheci to Defend
                                                                                                  ant's
        ~ faiiur~ tc, disclose the existence end signi~canec of said rr~isrepresent
                                                                                    ations.
    IO                                            TM'IR~ CAU~~ C3~' ACT1OlV
    Ii                       VIO~,A7'1C~i`V E}F THE C~}NSU~O'IER LECA.~. REIYiEDIES ACT
    I2                                   ~AL~~'{~R.~itA C[VIL CC7DE §]75U,et seq.
    13                           (E3y P~~inf€i'f and t}~e Ca16#'ornia C~as~ r~~ainst ~e#'endunt}
    14              S7.      Pl~ir~tiff' repeats and realle~es all the a1le~ations of the pre~fiaus J~aragr~€phs ancf
    ~ S incorpor~Ces the same as if set f'arth herein at length.
    16              58.      `~,t~is cause raf'actiUn is bro~~ht pursuant to civil Cade § 1 ?54, et seq., the
   17       COi1SUCII~I"S I..ESI ~~ITI{;{'~I~S f~Ct(.~CL4~A").

    ~8              53~     The palioie~~~ acts, and practices heretafor~ described were ir~tend~d to result
                                                                                                             in the
   l9 sa~~ ciC pe~end~nt's ~oc~d ~`roducts t~ the c~r~surnin~; public .
   24               6t?.    ~y engaging i€~ the ~~tions, r~presenta[itans and cor~du~E set forth herein, Defend
                                                                                                                        ant
   2t has violated, and continues to violate, § 17717(a~(2}, ~ 1770(a)ES}, ~ 17'14(x
                                                                                     )(7), and § t77fl(a~(9}
   22 of tie CLE~A. In vialatian of CaliCarnia Ci~ril Code ~ 177~1(~)(Z~,
                                                                           defendant's acts and practices
   23 ~%t~nstit~te imprtiper r~presentations regard~n~ the source, sponso
                                                                          rship, apprav~l, or certification of
   ~4 tl~e goons they said. 1n violation ofCafifomia ~:ivil Code ~17~'€~
                                                                          (a)(~7, Defendant's acts anti
  25 practices ~anstitute improper r~pr~senlations chat the goods
                                                                  they              s~1! have sponsorship, ~PProvai,
  26      Gh~raeteriSticS, in~r~dients, uses, t~enefiEs, car quantit
                                                                      ies, which they do riot have, Ill   VI(ll~4tt3t7 Of
  2'~ Ca9ifomia Civil Ctide §1770(x)(7), I~~t'endant's
                                                       acts            and practices constitute irnpraper
  28 re~resent~tions that the ~vods they sell are ofa
                                                      parfrcul~r stanc~arti,          q~~aiity, or grads when they
                                                                 12
                                                   CLASS hCTtt3N ~ONIPt;AtNT
    Case 5:19-cv-02252-PA-SP Document 1-1 Filed 11/25/19 Page 15 of 37 Page ID #:25
r




              t   are of another. In vit~latit~t~ of Ca(ifomia Civil Cade §177t}{a}(9), Defendarst has advertis
                                                                                                                ed ~oo~s
             ~ 4r services with intent nt~t to s~~I rhem ~s advertised.

             3            6I.      Specifically, l~~fendant's acts ar►d ~racti~es led cus€omens to falsely believe ghat the
             ~4   ~~Od PrQdUCt5 COntdir~ Crab rtl~dt,   whec~ na crab meat is present,
             5            ~r~.    ~7~3'~nc~ant's actions as descried hereina~ove were dene with conscious disregard
                                                                                                                                             a
                  of F~laintifFs rights and f~efend~nt evere wanton end ~naiicic~us i~~ their ec~n~ea
                                                                                                      lmens cif the sane,
            I
            '             63.     Pursuant ra § i 7800} Qf the Act, ~tair~tiff seeks inju»cti<<e r~ti~f in the Corm of an
            $ order cnjc~ining the ~bave-deser~bed r~vrron~ful acts and practices c~f'Defendant including, but                         i
                                                                                                               nit
            9 limited tc~, an order cnjoinin~ Def~~d~nt from distributing such laCse advertising anc~
                                                                                                                                        ~,
        1 ~ ms`sr~prescntatior~s. ~'laintiff shaft be irre~~rably harmed if such an order is riot granted.
                                                                                                                                      I!,
        1I               64.      Pursuant to Civil fade § 17$2, Plaintiff gave Defendant notice by letter dated April
        1 2 29, ZU(9, by certified mni1, of the particular vit~lations of civil Code § ] 770. "Tt~e Notice r~,questcd

        13 rhat Defendant rectify tt~e prc~blerns associated with the actions alle~cd in this Compla'snt and dive
        ~ 4 nc~#ice to al! affected consumers s~f i[s intent to sa pct.

       IS                ~S,      Ptait~t ff sce~Cs, pursuant to Califcrrni~ Civil Code § I780~a~(3}, on behalfo€'himself`
       E 6 and m~rr~bers c~Fthe Class, cc~mpensaEory dam~~es, punitive damages and restitution of any ifl-

       17 ~c~tten gins dui to 13t;f~r~dant's acts and practices.
       t$                                            ~'t~lJI2T~! Ct1C7S~ Off` A(~TIQ~N
       19                                       ~3    A(:H U~' ~7C~'RESS Wr~~2RANTY
       2t3                           ~~Y ~tadnti~f~nd tt~e California Class a~a~rnst ~e~`endar~t)
       2[               b6.
                          ~laintif~ repeats and reafle~,es the allegations set fflrth itt the preceding
                                                                                                        paragraphs ,
       ~~ and inccrrporat~s the same a~ if set €crrth herein ~Y t~~tl~.

       23               67.      l~efenc~ant has broadly dissemis~eted, ~nd~ continues t~ rnake,
                                                                                           misrepr~sentaiions .~
       2~ anti/or omissions re~ardin~ the pricing cif the ~`c~ad Pradu~
                                                                        ts. Spe~ificaEly, Defendant systemically
       25 ~epr~senis the ingredients of the Faad C'rod+~cts to cansutners.
       2~               b$.      i7~fendant knew that i;s assertions were fats, but
                                                                                         asserted such facts nonetheless,
      2'~ with the intent tc~ proeur~ each cons~~rner's
                                                        business.
      ~$                69.      I~-lad ~'la~ntiffand tht~ members ofthe Class known
                                                                                     that       ~?~f~ndant's asseriic~n was
                                                                     1~
                                                        CLASS ACTION COMI~LAlIYT            ~                   _.._~,.,      ,.,_„
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          Iuntrtx~,1'Iaintiffs and the rer~mbers of the ~l~ss would not have purchased such
                                                                                            Food Products or
         2 woc+ld have paid less fQr such products.
        3              7f~.     .As ~ ~roxirnat~ r~Sult Eft D~f~ndailt°s dGC~it,
                                                                                 aS Sit ~OF't}~ ~fJBVC, Plaintif~`and    each
        4 . m~mbcr of the C1~ss purchased tt~~ F~sod products.
        5              7I .     ~'~~i~ci~'s~it~ c►~e ~~:e~7~e~s v~` the Gass are ~ntitlecf t~ ~un`rtive dama~e~s since
        6 f~efendant wistfully and fraudulently acted w~i#~ malice, c~ppressian, and/or
                                                                                        in conscious dist•egard
        7 (`or l~Idint~t~'s and the members of she Class
                                                     a ' Cega! rights as a result of L7efendant's deceit, as set
               forth above.

        9                                          ~'IF`TM ~A►t)S~ 0►F AC'TION
    1(~                               VI~i,ATIf3NS U~` CO~TSU]V~ER ~RAC~D GAV~S
    Il                      (Hy ~`fai~tif~', the ~;'atifvr~ra Class, end Cc~ns~trner Prat~etion Ctass
    f2 i                                                 against i~ef~ndant)
       i
    i3                72.      Plaintiff r~p~~ts end r`e~lle~;es the a[le~~tions sit 4or~h in the preceding paragraphs
    ~4 antf inccrrpvrates the same as ifset forth h~r~in at l~n~th.
    I5               73.       1'taintiff bri~~gs this Count individually under the laws of the state where
                                                                                                                 he
   I b ; purchased the ~t~od l~rodttcts end bn beha4Fafall other persons why purcha
                                                                                                  sed the 1~0~CI I~CQ{~ilC1S
   1 7 ~n stales h~vin~ ~irr3il~r t~ev~ re~ardSn~ consurt~~r fraud and ti~cep
                                                                                       tiv~ tracf~ practices; namely, in
   1$ ~1ri~t~na, Texas, and ~lEw York,.
   ~~                74.       P1~intif~`and each c~fthe okh~r members of the Ctasses are cc~nsu
                                                                                                       rners, pUrChBS~t`S,
   2f} ter ~th~r perso~n;s e~ti~l~d to the prat~ctic~n cif the car~sumer
                                                                         protec       tion laws of the state in which
   2l         they+ purchased the Food Products,
          i
   22                75.      1"h~ ctsnsum~r pr€itection laws of the State in which P[ainti
                                                                                                F!' and fhe other rnemb~rs
  ~3 of €he ~lasse~ pure as~d the Food Products d~ctare that unfair
                                                                    ter deceptive acts                 or practices, in ttye
  2~ ( conduct af'trad~ or c~rr~m~rce, ~rG unlawful.
  ~5                 76.      lorry States and the i~iscrict Qf Columbia hive enacte
                                                                                          d statutes designed to prtrtect
  2b cc~nsuEners a~~ainst unfair, decepti~~~, fraudulent,
                                                          and           unc~nscit~nab~e trade end business prs~ctices
  ~7 and f~r3se at~v~~
                 c~ is~r~g and ti~at al~t~w consumers             to bring private andlor class ~ciians. "l"he
                                                                                                                 relevant
  ~S statues are ft~und ar:

                                                                   14
                                                    CLASS AC`ftC}N C4h7~LAiNT
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         1                            a.        Texas Deceptive ~'rade Practices-Cc~nsutner Arotection ,~1cC, Business
        2                                       Co»trrterce Ctxl~ ~ 17.41 et seq.;
        3                             b.        C~loricf~ D~ce~tive anc) Urtfair'l"rude Praciiccs Act, Fla. St~►t. Ann. §
        4 '.                                    SOt.~C}i, c~~ sey.;
        S,                           ~.         Ne~-~ Y~zr!c ~~c€~~stive ~ict~ d~~i °r~c~iecs t~~k, I~.`i. v~~r~. bus. Lew y~ 34~} it
        ~'                                      aeq.;

        7'                 77.       1'he t=oted Pr€~du~ts cQnstitut~ prt~duets to which Chew consumer protection laws
                                                                                         r

        4 '',1 '~pP} y~


        ~ I                7~.        Cn tie conduct of trade ar c~mmcrce r~gardin~ its production, marketing, ~nci sale
    1~', cif the Food Products, f3~.fenciant e~nga~ed in one ter more unfair ter deceptive acts or practices
    11         IIIGj!ldttt~„     but not limited to, falsely tabelitxg and advertising food products containing crah <}n

    I~ , their n~en~~, when in f'~ct, na era6 meat was present.
    13                     7~.       Defendant's represent~t~ons and omi~sians were t~alse, untrue, mislcadin~,
    t ~# dcc~ptive,                dlor likely to deceive.

    t~                    80.        Dc~fcndarn knew, or shaultt have knoum, that their representations at~d ornissians

    f~         were fatse, untrt~~, misieadirt~, c~i~ce~tive, anchor lik~lp to deceive.

   l7                     81.        Defendant used err ~rrti~lcry~d sucF► c~ec~ptive and unlaw;~u! acts ar practices with the

   ~$ inter# that ~'lainti~f and members of the Classes rely thcr~~n.
   I9                     $2.       Plaintiff ~ntf the tither mer~lscrs af'tt~e Glasses did so reEy.

   zo                     $3.       ~lainti~'~ancf the ether rt~~mbers of the Classes purchased the ~'nnd Products which
   21         misr~pres~nted the characteristics end nature af'the Product.

   22                     84.       Plaintiff ~ncf the other mernb~rs t~f the Classes tirou[d not i~~ve purch~ascd
                                                                                                                   the Food
   ~3 ~roduCts bc~t far Defendant's deceptive ar~d unlawful acts.
   24                     85.       As a result af` Defendant's ~t~nduct, E'la~ntif'i'azid the tither members
                                                                                                                   c~ftt~e Classes
  ~5 susiain~d damages in amounts tc~ be proves ~t trial.
  ~6                      $C.       D~fenda~nt's cc~r~duct shawcd com~le~e indifference ta, ar
                                                                                               conscio          us disregard fir,
  ~7 ' the rights ~,nd s~fcty ~f of}r~:rs su~t~ that .an avvsr~
                                                                             of punitive andlor statutory dama~,es is
  28 ~~prn~riate under the consumer prot~ct~on laE~s
                                                     of`those                        States that hermit such d~m~t~es to be
                                           ~,                               IS
                                                           . . . .CLASS ACT~t~tiV CGMPLA~iVT
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         1 ~~ sa~gi~t and recnvcred.

        2                                               i'R.AYER Ft3R I'tEL~~`
        3               WNERE~'C7R~, PIaintif~'prays far juti~rnent and relief against t)efendant as foflaws:

        4               A.      That the Court c~rtify~ the Masses pursuant to Califamia Code of ~i~jil Fracedur~

        5 S~cti€~~ 3ff2 and appc~i~t P~aq~isf i as C~a4s iZepres~niative end his attorneys as Gtass ~:ounsel to

        5 ~e~resent the members of the Classes;
        71              B.      7`h~t the Court declare that C}e~'~t~dartt's conduct t~it~iates the statutes end la~v
             ~ referrnc~d herein;

       9                ~'.    "l'hat the ~;aurt ~r~limin~~rily and perrnanently enjoin 17ef~ndant from conducting its
    t t} business through the ~nla~x~fuf, ursfarr, car fraudulent business acts or prt~ctices, untrue, azid

    11       n~isleadin~ i~balin~ az~d marketing and other vialatit~ns af`law described in this Complaint;

    12               D.        T}~at the Court order Defendant to conduct a corrective ac#ve~tising and information
    t3 c~mpai~;n advising; consumers that the ~'aod Products da not have the ctraracteristics, ~~ses,

   14 beneftE~, and qualify Defendant ttas cla€med;

   IS               ~.         ~~tat the Court Dreier I~efEndant to implement whatever measures are necessary to
   i6 r~m~dy the unl~wfu}, unf`~ir, ar fr~udu3ent business arts or practsces, untrue and mistcadia~~;

   l7 ac~~~riis~n~, and other violations of Iati~v c3~scrih~d in this Cc~r~plaint;

   18               F.        'That the Court order t~cfenciant to pay restitution to restore tt~ all affected persons
   19 a!€ ►ands acquired by means nfany act or practice declared E~y this Court to ~e ~n unlawful, unfair,

   ~0 ar a fraudulent business act or practice, untrue or misleading labeling, advertising, and rnarketi►~g,

   21       plus pre and post-jud~rnent interest thcr~on;

   ~2               G.        Tiyat the Court t~rder (Jefend~rii to d~s~orge all r~~orties wron~fuliy obtained ar~d all

  23 revenues end pfofits derived 6y~ Defendant as a r~sutt of its acts or p~•aetic~s as aile~~d in this
  24 Complaint;
  25                N.        ~'or comper~sai~ry and punitive damages in amounts to he detertninEd by the Court
  215 $nt~lot jury;

  27               I.         Fc~r ~rejUd~tt~ent irtferesd an ail ~z~puntS awarded;

  28               J.         1ar ~n Order ofrestitutian and a}I ath~r forms of equitable monetar
                                                                                                  y       relief;
                                                                    1&
                                                     c~_~ss A~~rso~v cc~n~p~.~rrv-r
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         1             CC.     ~'ar casts, expenses, and reasonah~e attorneys' fees;
        2              L.      For punitive dam~~~s;
        3!             M.      That the court grant such ether and furtE~er re3ief as may be just and proper.
        4
             ( ~?A't'IwI3: C)~t~b~r?2, 2C~t9               YQC3fi~ ~~fi.~~V, ~,P~
        6
        7

        S                                                        ~ephan' .. Ya ~ da           — _. _            ~.__._
                                                                 Attorneys for E'lait~tiff'
        9                                                        Ct~ANSUE KANG
    ID

    XI                                                  ~1t1RY' bEMANU

    ~z               Pl~intitFd~rnands ~ trial by jury an all criu5es Qf action so triabCc.

    ~~
             t~AT'ED: t~ctober 22,2413                    Y{)~N ~,~1~J Al'C
    14
    ES
   16                                                     ~3y:
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   17                                                            St~ph~nie ~. Yasuda..
                                                                 Att~rn~ys for E'iaintiff
   18                                                            CH/•tNSUE KAhM~
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       K~I~N~~TI-~ H. YOC)N (~tatc ~3ar i~Ic~. 193443)                                      ~~~
       STEPHA.~Iir E. YA,~UDA ~Stat~ Isar Nt~. 2654 0)
       I31~IA1~ G. LPL ~~tate B~~~ N~. 304990}
 2     `YC}~N LA'W, AFC
       Ong Wilshire ~31vd., Srute 2200
 3     Lc~s Angeles, California ~00~'7
       Telep}~r~n~; {~13} b12.-0988
       ~`acsr~-~iie:(2t3} 947-1211
 5     LZii'~ ~.A~V C~R~11~', ~'.C.
       ~'restan I-I. ~.i (S3N 2'TS2~9}
       phl~a~li~~nlaw~;ro~~~.cc~m
 7     3435 Wilshire ~3lvt~,, ~~tite 2~i5£1
       T_Jas Angeles, Cal fa~•~i~ 9001
 S     Tel~pr~n~:(213)900-;~D00
       I'acsizx~il~: {?13) 2(14-3000
 9
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1(~ Jo~~; ,SCui~ Ki~r~(ST3N 272I'~~)
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12 'T`elc~hc~t~e; {213) 351-9~Ot3
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       ~.ttarn~ys for I'l~intif~~ C'h~iYstte ICang
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                             U~'~RIt?R CC}I7~2T C1~` TAE ~T`t~:TF; O~+j C'..4~Ii~'(3TiNlA
l5                                l~C?~2. TAE C.~'tJNfiY fJIF` ~A~1~I I3ETtN~i2]DIIlC)
1~
       CI~1~i,~SU~ ~Al'~C~, an i~~c~ividual, axed an          ~`ase N~,: CIVI~~ 193 I220
1~     be~a~~f ~f other n~en~k~ers ~f tlx~ ~er~eral pu~lir
       sirr~ilarI~ situ~t~d;                                 [Assi~~ec~ for all ~ui-~oscs to 1-~o«.17avici
18 '                                                         C;c~~~n, ~c~t, ~-26]
                        7'laintiff,
~~ j                                                         PI.~IN'T'I~'F'S NO'I"~C"E Cl~ YNTTTAL
               v~.                                           c,~sF ~~~vA~~;vr~;rrm cc~~v~rx~~v~r
z~
       ~.~. CkANG'S CI~~INr~ ~I~T[~(~, IN~R an                S:)ate: January 14, 2020
~1     ~ri~Q~~~ ec~r~~or~tion, and T7C~~5 t-1f70,            'i'inze: x:30 fi,n~.
       inclusiti~                                             Alac~: 1~~~arttnent S-~t~
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        TC~ ~I~~ ~''~RTIF~ .r~ND THEM ~►TTQ~IEYS C1 ' I2ECOI~:
                      ~'LEA~E "I"AKA NUTICE that the Initial Case M~~rtagexx~~nt Canfer~nce is set to
        ta~~ place on ~a~lu~ry 14, 2020, at 8:30 a.m. in Department ~-2~ cif the above-rcfErenced
        ~c~urt, Ic~c~t~d ~t 247 West Third street, San B~rnardinc~, C~~li~'cart~ia ~~415.
                      .A~ true and cc~zx~ct copy of the Gaurt'~ (Jrdex is attacl~~d Iz~t~t~ ~s ~~xt~ibit A.


        ~atecl: November 19, 2019                            "Yt3t~N L.A,`W, ~~,PC
                                                                            .~,'_

 9 I                                                              Kenneth HSk"~bon
                                                                   ~~ephanie E. ~'asuda
10 I'                                                             I3rzan G. Lee
11 ~I                                                        Atfic~m~ys for Plaintiff Clxansue Kant

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    ~l                               SUPERIt7Ft CtJURT t~~ CA~1FC}Rf~iA

    2                COUNTY ~'}F SAN B~RNAR~7iR10, SAN BERNARfJtNC3 DISTRICT

                                          Complex Lifi at[on prograr~r                                    :,
                                                                       :~t.Ti~~F~its~ i ~~I ~~.~, i-tt r ~!
                                                                                                            {r=iltfi~llF}
                                                Jud e David Cohn           ~~~~~~~~ ~~~             ,~' ~"~~ ~~~~"~~,r~~rac~
    ~J
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                             GNA~J~vU~ KANCa -~J- P.F. CHRNGS ~I•-IIN4 81STf2G
    9
   1U                                       Case No. CIVDS'193122i1
   ~~ ~
  '
  12
                          (NITfAL CASE MANAGEIVI~NT CC?NFEREhtCE QRD~R
   13
                 This case is assigned for atI purposes to ,lodge David G~hn in the C~m~lex
   14
   1~ Litigation Program. An initi~f Case M~nag~ment ~onf~r~:nce {CMC)is scheduled far
         ~r~~~ `t ~.1~~'~'-
   16                      ~t 8;30 a.m., in deparkment 5-26, focated ~t the San ~~rn~rdina Justice
   17
          Genter, 247 V~l~st Third Street, San Bernardino, C~lifarnia, ~~4~ ~.
   18
                 Goun~~i fc~r all ~~rties ~r~ ard~red to ~ttenc! the initial AMC. Ab~~nt prier court
   fi~
          approval, teC~phonic appearances are noti ~ilawed fir the initial CMC. if there are
   2~
  ;~1     ci~fer~~~r~#s wh'~c~ have riot yet i~nad~ ~a general ~r s~+dc of a~p~~rance, fii~ase parties who

   22     are presently before the court may jointly request a continuance of fih~ inifia) AMC t~
   23
          ~Ilc~w additional time for such non-appearing defendants t~ mike their general ar
   24
          special ~ppeara~ces. Such ~ request should be made by submitting a Stipulation and
   25
   26     Propas~d ~3r~~r to the Court, filed ctirectiy in C►~par~ment S-2G, no 1~ter tf~an lien

   ~7     eour~ days before the schedute~i hearing.
  28




                                                         y~_
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i




                    Fending further order of this court, end ~xc~pt ~s oth~rwis~ pr~vid~d in this

        2 {order, these proceedings acre stayed in their entirety. This stay precludes tl~e filing of
        3 any ~n~wer, demurrer, m~tior~ to strike, or motions challenging the jur~sdicti~n of tf~e
        4
            ~ Cot~~t, each defi~ncf~nt, htowever, is directed to fills a Notice of General App~ar~r~ce {or
        5
            ~ a N~tic~ ~f Spec~a! Appe~ranc~ if counsel intends to challenge personal jurisdi~tian} for
        6
        7 puipas~~ of identifiicatic~n +~f counsel end preparation of a service lisp, "f`ih~ filing of a
             Notice of t~ener~l Appearance is without prejudice #a arty substantive ar prac~dura(
        9 challenges to the complaint (including subject
                                                           wafter }urisd coon), without prejudice tc~
       1tI
           any denial nr affirmative defense, ar~d without pre}ucfic~ to the filing of any cras~-
       1'f
           complaint. The filing of a Notice of Special Appearance is without prejudice t~ any
       1
      13 ohafi~ng~ t~ the court's exercise of personal jurisdiction. "phis stay vi the proc~~dings is
      '
       14 ~ 'sssued to ~~sist tl~~ court and the parties in managing this case through tie
      '15 develaprr~ent
                        of ~n arder[y schedule for briefing and hearings on any procedural ~r
       96
          substantive eh~(ienges to the cr~mplaint and other issues that may assist in the arder)y
       17
          managemen# c~# t~ls case. This stay shall not preclude the parties from informally
       18
       1~ ~xchanc~ing d~cumertts and other itlform~ti~rt th~~ may ~ sis~ #h~nn in them initial
      2U    ~v~lua#inn of the issues.
      2'1
                    Pl~inti~fs' counsel is ordered tc~ serve this 4rdsr vn counsel for each defendant,
      ~2
            ~ or, if counsel is r at known, on each defendant within five days ~f the date of this Carder.
      23
      ~4 j if t~~ complaint his r~~t been served as the date of this 4rd~r, counsel for plaintiff is to
      ~g I ~ serve the camp{ain# ai~ng with this ~r~d~r within ten days of thre date of this Order,
         i
      2~ {           Counsel ft~r atl parties are ~rd~red fo meet end confer in person n~ later titan
      Z7
            fift~et~ court days before the initial CMG tv discuss the sut~j~cts listed below, counsel
      28



                                                          '~
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           mug# be fu11y prep~rec~ to discuss these subjects with the court.

                                            Agenda fc~r the In~tia! CMC

              1. Any issue of rec~asa! or di~qualificatiot~;

              2. ~lny ~aotentially dispasitive nr impartan~ threshold issues a# {aw ar fact the#, if

                 consid~r~d by the court, may simplify or further resaiutian of the case;

    7         3. Approprs~te mechanisms for Afternatirre Dispute Resa~ution;

    8        4. A plan for the preservation of evidence end a uniform system for the
    9            of documents tt~ b~ used throughout the ct~urse of this litigafion, inciudir~g
   't0
                 discovery and tri~i;
   11
             5. A discovery plan for fhs c3iscicr~ure and pra~uctivn of documents and other
   12
   ~~            d ~c~v~ry, including whe#her the c~iurt ~hc~uid ~rd~r automatic d~sclasur~s,
   14 ',         ~att~rned on Federal Rule of Civil Procedure ~6(a} ar atherwis~;
   15 '.
             6. Vl/f~~#her it is advisable to conduct discovery in phases sa that information
   16
                 needed to canduat meaningful ADR is obfained early in the case;
  '~7
             7. Any is~u~~ involving: the prote~tic~n of evid~nc~ end confidentlallty;
   1$
   19        8. The use ~r~d sefecti~n ort ~n ~I~~#runic s~rvic~ provider;
   Zt#       9. The handling of any potentiaf publicity issues.
   21
             10.Any c►t er issues cauns~l deem appropriate to address wi#h the court.
   2~
                                                    The Joirt~ R~~ort
   ~3
   24            CQun~el ara ordered t€~ prepare ~ .#o~int Report for the inifi~! CMC, to b~ filed

   ~5 directly in t7epartment S-~6 (not in the Clerk's office}, na ~~ter than #erg court days
   26 iae~or+~ the cc~r►f~aenc+e date.
                                       The Joint Report must include the following;
   2fi
          1. Whether the case should yr should nvt be tr~at~d as comp~~x;
   Z8



                                                        _~,.
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          2. Wh~tf~er additicana parties are likely to be added and a proposed date by which

              ~I! p~riies mint be served;

          3. A service list (tie service list should identi#y ali primary end s~:aondary counsel,

              firm name,addresses, t~l~phc~ne cumbers, email addresses, end fix numbers

              fc~r a[i counsel.}

          4. Whither the court should issue an order requiring electronic se►vice. Counsel

              should advise the court reg~rdir~g any preferred web-based electronic servJce
    E~l       provider;
   1 t~
          5. Whether any issues of jug st~ictinn or venue exist that might affect this court's
   ~~
              ability to proceed with this ease.
   ~z
   ~3     G~ Wtteth~rth~r~ are ~pplicabl~ arbitration agreem~n#s, and thte parties' views on

  '~4        their enforceability,
  't5
          7', A fist of ail related iifigation pending ire fh s or over cou~#s (state and federal}, a
  't6
             brief d~scriptian of any such ~itiga#ion, including the name a~ the judge assigned
   17 !
             to the case, and a s#at~rn~nt whether any additian~l r~lat~d litigation is
  ~~ I
  'f9        ~,1 4'LI~J~L~~ f




  ~~
          8. A description of the major f~~tual and legal issues in the case. The par~i~s
  21
             should address any contracts, st~futes, yr regulations can which claims ar
  ~~
             defenses are used, car which will require interpretation in adjudic~fing the claims I
  z~
  ~a         ~~a ~f~~~~~;
  a~      9.~ Thy parties' t~r~tativ~ views ors ~n ADR mechanism and 1~~w such mechanism
  2G         mighf b~ integrated intt~ the coarse ~f #h~ iitigati~n;
  27 '
  28




                                                     -4-
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    1     1~.A discovery flan, including the time need to cand~ct discovery and whether

    2        discovery should be cc~r~ducted in phases or I~rri'rted {end, if so, the order of
    3        phasing car Types ~f limitations). W~t~ respect tc~ the discovery of efectr~nically
    4
             ;~t~ar~d infarmatian {~S1); the plan should inclut~c~:
    5
                 a. identifica#ian of the lnfarrnativn Mari~gement Sys#ems used by the parties,,
    6
   '7            b. 'he location and custatlians of irrft~rmatian tha# is likely to b~ subject to

    8               production (including the id~ntific~tion of network ar~d email servers and
    9                hard-drives mainfained by custodians};
  '1t1
                 c. The type afi ESi that uvi{I be requested and produced, e.g, data fibs,
   1'I
                    ~m~ils, etc„
  '~2
   13            d, Tire format in which ESI will be produced;
  '~4           e. Apprt~pri~te search criteria fcsr focused r+~qu~sts.
  '~5
                f. A staternen~ wh~tf~er the parties wi11 allow their r~spectiv~ IT consultants
   16
                    ar employees to participate directly in the meet artd canf€;r process.
  'k7
          17. Wh~th~r the p~rti~~ wiPl stipulate that discr~~ery stays or other stays ~nf~r~d fey
   18
   19        the court for case man~g~mer~t purposes will be excluded in d~t~rmining the
   ~~        s#atufic~ry period for bringing the case to trial under Cody of Civil Procedure
   21
             Section 583.3'{q (the Five Year Rule}.
   22
          12. Recommended dates and tirn~s for the ft~llowing:
   23
   24           a. The n+~xt Cf1~~i

   25            b. A schedule ft~r any con~~rnpl~ted ADR;

                c. A filing deadline {and proposed briefing schedule)for any anticipated
   ~7
                    non-discovery mafians.
  2~



                                                   _5.,
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    ,~                  d. 1Nith respect tc~ class actions, the par~i~s' tern#~tive views on are

    2                        aPpr~priat~ d~adfine far ~ class cerfifi~~tian mofion to b~ filed.

                   To tl7e extent f~r~ parties are unable t~ agree ors any matter to i~~ ~ci~fr~sse~ in

    ~     the Joint Report, the positions of each parCy a~ of various parties sh~oulcf b~ sit forth
    5
         separately. Thy parties are ~nc~uraged tc~ pr€~pose, ~ithef jointly crr ve~~rat~ly, arty
    fi
         ~pprc~aches to case man cement that they b~li~ve wil! promote #h~ fair and ~ffici~nt

    ~    I~an~l ng cif tYtis case.

    ~              Any stipulations to continue canf~rences of other hearings througha~xt this
   ~~
         litic~ati~n must b~ filmed with the court directly in Departr~errt 5-26 {nof in xh~ Clerk's
   91
         office}; no later than tin court days ~~for~ the conference ar h~~ring daf~.
   12
   13
  '14              DATED: ~ is ~,~ ~,~,
   15
                                                                         ~A~ViG~ ~!~
   ~6                                                             David Gohn,
                                                                 Jude ~f the ~up~rior C~urk
   17
   ~~
   ~~
   ZU
   21
   2Z
   Z~
  24
  2~
  2~
  ~7
  28
         U~rda#ed Qctoher 24, 2019




                                                           _~_
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              GU1D~~.~NES ~(~~ THE COMPLEX LiTI~ATtON Pi~C?GRAlltf
                                   5UP~FtIOR CbURT E7F THE STRTE OF CAl1~C7RNIl!
                                           G011NTY flF SAN SEEtNAFtO}N(1
                                                JUDC~rE t3AVID CQNN
                                                 DEPARTNt~NT S-Z5


    THE AN BERNARC?INCf GOUN7` Ct]MPI~ X Ll ~AT1dN PRt~G A

             Department ~-28 is the Carnp(~x ~. tig~tian Department fnr the Superior court aP the Stag of
    C~iifarnia, County cif fan Bemardina. [t is located at the San B~rnardinv Justice Center, 247 We$t
    Third ~treEi, San B~rnarcllno, GA 92 15-t7210, an the eighth floor. Judge David Cohn presides in the
    Complex Litigation bep~rtme~t. 'fh~ felephon~ number fc~r C~amplex ~.i#"►gation Department is 909-708-
    8$66.

    DEFINITION a~ Ct?MPLEX LITIGt~t7lON

             As defined by California ~iule~ of ~ou~t, rule 3.400(a}, a campCex case is one that requare~
    exaeptionai judici~C management to avoid placing un~r~cess~ry bur~fens tin tixe court or the
    litigants and (a expedife the e~s~, .keep c~~ts reasanabl~, and prarnote effective d~cisian making
    by the court, the parties, and counsel.

            ~orrtpl~x cases typically have ane or more ofthe following features:

                     A targ~ number afi separately represented parties,
                •    Eittensiv~ motion practice raisipg difficult or nc,veE issues chat wiiM be tirr~e-
                     cor~surning to resolve.
                     F~ substantial amount of c#oeurrr~nt~r~ evidence.
                     A I~ry~ number of wiknesses.
                     Gta~rciinati~n with related actions pending In ar~~ nr more courts in ether
                     countr~s or states or in a f~der~xl court.
                     Sut~st~ntal post-jiadg~nf judici~i supervision.

            Complex cases may include; bu# are nc~t necessarily i[mit~d to, the fallowing types of cases:

                     hlntitrust end trade tegulatfion claims.
                     Construction defect claims involving many partial or stru~tUres.
                     Securiti~~ claims or [nvestment lasses i~v~lving many parfi~s.
                     Envirctnm~nFa~~l or #oxio tor# ct~irn~ i~tvolving t~~any parties,
                 •   MasS tors.
                 •   Class aoti~ns.
                     Claims brought under the Private Attorney General Act (I'AC~A}.
                     lnsur~nc~: claims ar'ssing out of the t+~p~s oaf claims listed above.
                     Judicial Council Ct~nrdina#ed Prc~c~edings (JCC~').
                     Castes i~~valuing cr~mpiex financial, sciersfifrc, or #~chnological issues.

                                                      Page 1of 7
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               ~tJiDE.~i~E~ FC~!R THE ~C311~~L.EX LlTtGA71Q~! PRt~GRAIUI
                                       BUPER1t7R CURT aF THE STATE OF GfcLtFORNIA
                                               COIINFY OF SAht E3EFtNA12i71NL3
                                                   Jl1C1Cv~ QAVlI7 CO~iN
                                                    DEPAFi7(VfENT 5.26


   GAS a A~ IGNEt~ T~ T'H~ Ct)MPL~X L.ITIGATtaN DEAR'fMEN7"

       A, Ga~~~ I~esigr~a c! by a Pfainti~f a~ Cn~nptex Qr i~ir~vt~~anaify Cc~rr~plex

             Ail uses designated by a plaintiff as c~mpfcx or pravisic~na[ly complex on the Civil Casc Caves
   sheet (Judiclai Council Form CM-~4D)will be assigned irritiaiEy to the Compf~x l.Itigat[on pepariment.'Thy
   Caurtvt+ill isstt~ an fnit~ai Cass; Mar~ag~rr~ent Cor+ference C7rcier and sah~dut~ an Initial Cass Management
   Gonfsrenc~ as provided Esy California FCu{e~ n~ Cou~f, rule 3.75(3, for tits earliest practicable date, generally
   w'sthin ~pproxirnately se~renty-five days of the filing of the complaint.

           A pia'€ntifP designating ih~ case as complex or pravisi~naily epmplex must serve the ~rtitial Case
   Managem~nE Can#erence t?rder and'a copy of These guid8i nes on alf parties at the earliest opportunity, but
   in no event Inter than thirty days before the conference,.end must file Proof bf Service of The umrrians aitd
   Gampiaint and the Initial Case M~nagernent Conference order with the caur~.

           A d~fer~dant who agrees tha# the case is corrtpl~x or provisionally comp[~x may indicate a "Joindar„
   on the Civil Case GQver Sheet(Form CM. 1 DD}.

            A def~ndan# wha disagrees that the case is comply or provisionally cornp(ex may'raise the issue
   with the curt at the Eniti~i Case Managern~ent Co►~fetence.

       B. Cases Cc~ur~ter-(7esign~ted By a ~tefendant ~s Complex or Prov9sional[y Gompl~x

           A1E c~5~s which v++ere nat designated by a plaintiff as ccarnpfex or prouisionalEy complex, but which
   are counter-designated by a def~nd~r~t {or cross-defendant) ~s complex or provisionalty comply on the
   Giv~E Cass Cover Shut (~lud(cial Council Form CM-1t~0}, will be reassigned to The Comply l.itigat(on
   Depar~menf. At such time, the Gaunt will schedui~ arc initla Cass N~anagsment Ganferencs for the earliest
   pr~cficab~ t~~t~; generally witl~ln approx'rmaf~fy #arfypfive days. A defaridant (orgross-defendant) count~r-
   ~iesign~~ing the case as c~mpiex ~r provisionally complex rr~ust serV~ ~ copy afi khese guid~liries pn ~alE
   par#ies at the earliest t~ppor`icsnity, bu# i~ na even# # ter than fhit~y days b~tore the ~rif~rence.

            A plaintiff ar vth~r parEy who disagrees with. tha caunte~-designation may raise the "sssue with the
   court at the €niti~l Case Management Conference.

       ~. C3ther ~ase~ Assigned to the Cgrr~ptex Litigat[on ~Y~parFment

          Whetfter car not ih~ parti~~ destgn~te the ease as complex ter prc~visional4y complex, the following
   cases will be lnitialEy assigned t~ the Complex Litigation D~partmer~t:

       •    Ali ~onstr~ctian Defect Cases.
       •    AIi CEass Actions.
       •    Ali Cass InvoSvirtg Private Attorney Genera( Apt (~'A~A} Ct~ims,'
       •    Jut~icial Cc~unci) Cpardinated ~roc~edin~s ifi ~ci assigned by the Chair of tfie Judicial Council.


   ~         The Civil Case eover Sfteet (Judicial Gouneil ~orrn CNI-1d0) may nc~t reflect the pr~senc~ of ~ PRCiA claim.
   PAGA c1a(ms erroneously assigned tonon-complex departments are subJect to r~-assignment to the Comply
   Litigation Department icy the assigned judge.

                                                          Fade ~ of 7
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              GUICl~LINES FQR THE C~NIPL.~~t LITIGATlC3ld FRC~t~RAM
                                    SUP~i21t7t2 CCSURT U~ 7H~ STATE DF CALIFdRNlA
                                              CgtlNTY OF SAN SERNARgINO
                                                   JUtSGE L~RVtk7 COtiN
                                                   DEpARTN(€13T 8.2&


   R~~~~tRAL.7t7~ THE ~C?MF'L~t ~ITIt;A71C~N ~~PA;~'Ll~I~~T~Y 4~NER D~PAR.~~NTS

             A judge why is assigned to a case may, but is rrot required to,.refer tPte apse to the Complex
   ~,itigation t~epertment to be ~ansider~d fac fr~atmer~t as a campi~x case if(1)the case was previously
   designated by a party as cornpiex or prc~visianally complex; or(2)the referring judge d~~ms the cam to
   involve issues of cansiderabie legal, evidentiary, or logistical cornpiexity, such that the case would be besf
   served by ~ssignm~nt to the Carnpiex ~,itigatio~ C~epartment. Such a ref~rrai is not a re-assignmen#, but is a
   r~ferr~l firer ~onsideratic~n.

            trt arty case referred ~y ~nc~ther judge to thy; Complex ~.iti~ation Depar~rnent, the Ccamplex Litigation
   tJepa~tnent will schedule an lnfiial Case Management Crsnference, generally within thirty days, and will
   provide notice to al) par#ies afang with ~ cnpy of these guideline. !f the case is d~term reed by the Complex
   Litigation ~~partment to b~ apprapri~te for tr~atm~nt as a comA~ex case, the ease wiN b~ r~- assigned to the
   Cvrrspl~x L`rtig~tion Department at that time. If the case is determined by the. Campi~x L.i~igatian Departmer~k
   n~# #o be cumpkex, ii will be retum~d ~a the re~~f~~ing judge

   ~7`AY C}    I C~YERY f'~NpING 7t•1~ 1 iTiAL. CA~~ MANACx~MEh{T                   N~~REN~E .:

           Far c~s~s that are assigned to the Campiex Litig~tian I3epartment, discovery is autom~tical~y st~y~d
   pending the Initial Gaye ~f~n~gement Car~f~ rence, or until further arder of the courf. C7tsc~avery is not
   ~ut~imatic~lly 5tay~d, however, ter c~s~s tha# wire initially ~ssignsct to other depa~tment~ and are refefred
   to fh~ Complex litigation DeparEment fnr consideratifln, unless the referring judge stays discovery pending
   det~rminafi~n ~y the ~ompl~x_Litigafiie~n v~rh~t#ter the case should b~ treated as complex.

   t?~i»tta,4 IOId 70 lVE~ET A     C      ~R BEFC}~t~ TH tNITlA~ GASH MANAGEM N't ~ON~~R~NG~

           Priarto #rig initial Ease N4anagem~nt GanferenG~, ail pasties are required to meet and confer to
   discuss fhe items specified in C~tifo~nia Rules of Cnurt, ruin ~.750~b),.and they are requie~d to pr~par~ ~
   Joint Statem~rtt specifying .the fr~![owing: .

           Whether adciltinnal parties arelikely to !~$ added;,end a.prtrpased dato by which any ssach pas#i~s
           must k~e served.
           Caah party`s pasif"son vrhetii~r the case shau4d or should not b~ treated as a complex.
       •   V1lhetfier there are applicable arbitratipn agreements.
       •   Whether kh~r~ is related litigation pending in state or federal court.
       •   A d~s~r~ptar~ cif the ma;or legal end factual issues involved in the ca~~,
       •   Rrry d'[~~av~ry or triaE pr~p~ration procedures Qn which the par#ies agree. ~'he parties should
           address what discovery wi{! be required, whether discovery should b~ eonducted in pti~se~ ar
           oth~rwi5e limited, and whether the parties agree tt~ ~lectronie service end an electronic document
           d~pcisit~iy and; it so; ~h~ir prefe~r~d wpb-based electc~nic service pravida~.
       «   An estimate afi tl~~ tr"m~ n~~d~d to ct~nduct discovery and to prepare for trial.
           Ths parties' ~+iews on an appropriate mechanism far Rlternative #dispute t~~saCutian.
       •   Any other m~tt~rs pn which Eh~ parties r~qu~sf a court ruling.

       The 3esin# S~t~ntent is tp be filed directEy in the Complex ~itigafian Cie~artment n~ Eater than #$n
   court days E~~e€vt~ the conference, This require+nent of a faint Staf~mertt is not satisfied try Using Judicial
   Gourtcii dorm ~M-11L~, pursuant to Gafi#ornia R~~I~s of court, ruEe 3 ,72~(a), or by parties filing individu~i
   statements, Failure fo participate meaningfully in the "meet end confer° process or failure to submit ~ JQint
   Statement may result in the ir'nposition of rnon~tary or other s~ncticrns.
                                                       Page 3 0# 7
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              CUI[JELIMES F9R THE Gt~MP~.EX L~TIGAT`1C7tJ PROGRAM

                                    SUPERi~fi COURT` Of THE STATE OF GAl.I~t3€tN4A
                                            CC?UNTY t3F SAN ~~itNARt3#NO
                                                 JUAG~ f3AV1~ CC7NN
                                                   DEpAR?iu1ENT 5-28



  ~.~ ~r~i~'~~t~. case M~~ta~~~.,~~-r ~a~t~~R~~vc
           At the tn~tia! base Management Ganferenc~, the court will determine whether the action is a
  ct~mpfe~c cast, as required by Ca►ifacni~ Rutes of Caurt, ruEe 3.403. if thte curt de3~rmines the case !s
  ct~rnplex~ the court wilt issu~.fur het` management-re{~ted ~rder~ at that lime. !f the court de#ermines the
  case is not comp~x, the case may be rslain~d by -the judge in I]epartrrtent 5 26; but not treated as a
  comply case. car it may be r~a.~sign~d t~ ~ different department; if the case was referred 6y another judge
  and t~~ case. is €ourtd to be inappropriate for treatment as a comply case, the cage will be returned to the
  referring judge.

           At the Initial Cage Management Gan€~rence, the court and counsel wifl address the sub~~ots Misted
  in ~~li~arnia Ru{es cif Court, rule 3.750(b}, and ail issues presented by the Joint Statement.

          Once a ease is deemed complex, the functiatt of the Initial Cage Mariagemes~t Cor7f~rence and ~I!
  subs~queni Cass M~nagemen[ Cnnfier~nc~s is to facilitate discovery, mafian practice; and trio! preparation,
  and to discuss appropriate r~~cttanisms far settlement negotiations.

          Lead ~aUnse! should attend the Initial Case Manag~rrient Conf~~nce. Couns~{ with secondary
  responsibility for the case may attend in lieu of lead counsel, but aniy if such counsel is fully infi~rr»~d about
  the case and has fulf authority to prace~d an ~lI issues to b~ addressed at the c~nferenc~. " peci~l
  Appearance" caut~s~l {iawy~rs who are not the attorneys of r~aord) are not ai~nwed,

  7~LEPHQ~i1C APPEARAh1C~S

          Telephonic ap~arances ~r~ allowed, though discouraged when counsel +r~ili be addressing
   complex su~st~ntiveissues.. Ptease do foot use cal! phor~~s or speaker phc~n~s~

  C ~E M       A ~MENT 4RgEf25

            Tha aout~ may i~scsa; fc~rmai; written case man~gemenk orders..'Cypicaily; aarnplex aonstrueton
  deflect c~se~ will proceed pursuant.#o such an order. Qthcr cases invcalving numerous p~rCies or unusuaE
  lag stica{ comp4~xity rriay ~e appropriate for such a wrfit~n girder as well: The need fc~r a writk~n case
  tt~tanagemer~t acder will be di~~ussed at the [n tial C~s~ M~nagentent ~nnfer~nc~ of ~t lata~ times as the .
   ~►e~d ~ris~s, Thy parties will prepare such orders as direr#~d by the cr~urt.

   PUI~'FHER C     ~ MANAGEM~ '~ CC7 ~RENC~S

          Afit~r the Initiaf Case Managem~nf Cc~nf~tenc~, the oaurt wi[I sel~edule further case management
   confer~ncss as necessary anci ~PPrc~priat€~ on ~ case-by-case basis, As issues arise during c~ilr`ng the
   Com~l~x Litigation ~~pa~ttr~~~t (909-70~-886 }, The court will scheduf~ s~~ch additional case t~t~nac~et~~nt
   con€er~nces at the ~:atlie~t opportunity.

            Rs with t~t~ Eniti~f C~s~ Management Conferer~c~, lead c~unssl should attend alt ease managerrtent
   conferences. Cauns~d with secondary responsibility for the case. may attend in I`reu of lead cauns~l, but only
   if such cc~unsei is fuEiy informed about the case and has fait autf~ority to proceed on all issues to be
   aeidr~essed, "Special Appearance" counsel {lawyers wns~ are not the attorneys of r~eord} are not allowed.



                                                      Page ~ tsf 7
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              t~U~DELINE~ Ft~R THE CC)~P'LEX LITI~ATIt)h1 PRt}CRAM
                                          SUPEftlt?~ Gc~URT p~'iNE STA'fL O~ ~ALfFOf~NIA
                                                   CfJUNTY OF SAN f3ERNARDIIVO
                                                           JUC?~~ C~AVt[~ CdHN
                                                            D~PARTM~NT 5-26


   VOLUNTARY ~~7"TLM~NT CgN~~R~NCE~

           {~ r~1i F3c~1`C1~5 Lic~I~B~, t~l~ CD€!t't 13 r~Vall~bl~ fQ G4i1dUCt SEA#18f11~'!1~ COT1f~i'@tiC~5, t~egtl~'S~& ~4C S@ff3£'FY1~t1f
   conf~r~nces.may be made at any ~as~ Management Conference or fearing, or by telephoning the Gom~lex
   ~.lfiigakion Departt~en#(9t39-7Q8-886fi):

   MiAN~3ATOftY SET'i'1:~11~E~lT CQNFEREN~ES

            In ~pprr~pri~te ~~~es, tE~e court ~rtay order rnanciatary setk4ernent cs~nferences, Parties with full
   settl~rr~~nt au#horny, incEuding in~ur~nc~ adjustors with full settlemen# authority, must attend a!! mandatory
   settlement canf~r~noes in person. Availability by telephone is no# alffltv~d at mandatary settlement
   can#erences absent prior approua( of court.

   MANAG~M~,jr~F t3~ CLASS ACTIQNS

         En Mass actions and putative, cf~s~ aot:ans that ~r~e d~em~d complex, the Initial Ease Management
  Conferen~~ witl func#ion ~s the Gaye Confi~reno~ required by California Rules of Court, rules 3.762 and
  3.763.

      LIGATIQ~3 TO M~ 'C A+~ Ct7N~ER REGARDING M~STlONS

            to addltiorr to any ofher requirement io "meet and cc~n~r'~ imposed by st~tuti~ sar Rule bf Court ~n
  conneciic~n with miaC t~n~, ~I! counsel and:unrepr~sent~d parties are: t~quirec3 fo,meet end confer" in a good
  faith attempt to eMiminate the n~crossiEy far a hearing on ~ pending manor€, ar #o resolve or narrow some of
  the issues. Thy moving party must arrange for f1~e conference, which can be cor~duGted in person or by
  tel~pliane; to b~ held no later than four ca~e~dar days before the i~ear9ng. Na later #han two calendar days
   befc~r~ tfse hearing, tt~e trnaving party is r~quire~! fa file a notice 'tn the Cam~fex Litigation C~epartment, wi~~r
  service on III parties, s~e~;ifyin~ wh;ath~r the conference has occurred and specifying any isst~ss that gave
   been r~so{v~d. if the need far a hearing hay l~~~n eliminaEed, the motion may simply b~ taken atf-calendar,
  ~~ilur~ f~ participates n~~aningfully in the.ccmfer~rar.~ may result in the imposition of rr~or►etary or other
  sanctions.

            `fhe c~biiga~ior3 Eo "'meek and canf~r" does noY apply to appiiG~fic~ns to appear pro haG vice or to
   rrro#ions tc~ withdrew as counsel of record.

   FC3ftMAT (]F PAP~R~_Flt,~D tN Ct~NNEC'f'IG?~! WETH~N ~7~'~NS

            G~unsel anti unrepr ent~d parties must comply with a1E app4icable statutes, Rules of Coue~, and
   Local C~ules regarding mati~n5; including but not limited to their format. Addifiona!(y, ~xi~ibits attacfied to
   motions and oppositian~ must be s~parat~ly tabbed at the bottom, sa thaf exhibits can be easily idea#i#'ted
   end r~triev~:~i,

   ~L C`TR N C SE~tVIC~ AN D                      M~1JT ~EPdaITC3RY

            The parties in cases inualving numerous parties ar large quantities of documents are encouraged to
   ~~re~ to ~I~ctronic service for ail pleadings, motions, and afher materials flied wEth the court as wilt ~s all
   tliscav~ry regcrests, discovery responses, and corr~spnnd~nce . N~v~r~heless, parfie~ rrrust still submit
   „hard" copies to #h~ court of any pleadings, motions, tir other mater'rai~ that are to be ~le~.


                                                                P a~~ S ~f 7
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              CU1D~L~~fES ~~R THE ~C,~MPL.~X LITiGAT1~N PRC]GRAM
                                           St3PERtiaR CnUF'tT OF TNT STA7E OF CALIFORNIA
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   INFt3RMAL nIS~f3V~RY CC7NFEF2~NCES

            The court i~ availably far informal discovery conferences ~t thy: request of counsel, Such
   conf~C~nces may ~ddr~ss tP~~ scope of allowable discovery, the order of d'oscovery, issues of priviiege> end
   atl~~r discovery issues that tray ~ris~. CounseE may contacf the Gompiex Litigation t~eparttnent to schedule
   an informal conf~'srtce (909-7Q8-88~~~.

           B~fc~re filing any di~cov~ry motion, #h~ rriaving party i~ required to "meek and confer" with cauns~i as
   required by statute. It #h~ "irieet anti confer" ~r~hang~ fi~ails to resolve III issues, the moving petty is
   r~quireti to r~uest an inFo~mai canfer~nc€ wlttc the court before filing any t[isctivery motion, Making a
   request for:an infaEmal ciiscavc~ry cc~nferen~e automatically s#aye-,the dear~line for ding a rnation.

           Telephonic appearances are not allowed ~bsei~t prior approval !iy tt~s ~c~urt. Briefing is not
   required. though khe relevant discovery r~aard should be made avall~ble far the court {~u# not filed}.

   GON~tD~NTIAL f70GUM~NT ANCI PROT~CTiVE l7RD~R~

            Proposed prot~Cfive c~rd~rs dealing with confidential da~uments should state expressly that nothing
   in the order excuses cornplian~ with California Rules of Court, rules 2 .550 and 2.551. Prapos~d protective
   orders fhat ire not compliant with fhe requirements of tl~e Rules of Court will be reJected.

   THE P32E7RtAL~ CC)t~~~REt~~~

          Thy court will scitec[ule a ire-trio! conierenc~, 9en~rally thirfy to sixty days in advaric~ of the trial.
   Gaunsel and the court v~ri11 discuss the folf~wing mafters, which counsel should be fully informed fo address:

      • Whefher trial:wiii:be:by jury or by the court.
      • Anticlpat~d rr~oki~ns:tra iimtni5 oc ~h~ n~~d fnr other pre-trial eulings.
      •    ~'~i~ ~13tfCl~]c~~~.1LI1~t~1 Of ~Cfr~l. . .
       • The order of prnaf and scheduling of witnesses, including re~lisfic time estimates for each witness
          #ar bath direct and er~ss-examination.
          (f ~t~er~ is a large number of ~nt(cipat~d witn~sse~, ~uheiher cc~ur~sel wish to Nava rho#ographs taken
           ofi each witness tc~ r~tresh the jury's recollection of ~aoh witn~s5 during closing argument and
           d~[iberafion.
       • Whether d~pc~sitian tee#irnany wif! be presented by v'td~o.
           The- need fdr evidentiary rulings orb any Lengthy deposition testimony to be presenf~d at trial.
       r Stipulations oP fait,
      ~ ~ Stipulations regarding the ~drnission of exhibits into ~videnc~.
      .
       •_ If here is a I~rge amount cif documenfary evidence, hour the ~xhibi#s will be presented In a
           tne~ningful-way fqr the jury;
           The use of fiechnology at tr`sal, including but nit limfted to electronic evidence,
       • Any unu~u~l legal ar evidentiary isxu~s tF~at may at-ise during the triaE.

   THE TR{AL i~~RL~tN~~S GOt~EFERENC

             7rE~l ft~arfin~ss Cnnferenc~s aye held at 8:30 ~.m., fypic~lly an the'Thursday morning preceding t~~
   scheduled trial date. Gouns~l and unr~pres~nfed p~rtles mE3st comply Fu11y w6th ~ocai Rule 411.2, unless
   otherwise directed by tihe couri. Failure to ttav~ tine required materials ~v~ilabie #or the court may result in
   tk~e i~n~ositi~rr of mc~rTei~ry or ot~~r s~nctit~ns,
                                                                 P~~e 6 ~f ~
Case 5:19-cv-02252-PA-SP Document 1-1 Filed 11/25/19 Page 35 of 37 Page ID #:45




              GtJIDELIN~~ ~C}i~. THE Gt3MPC~E}C LITIG,ATIQt~ PRt3G~'iAM

                                     SUP~R14Ft COURT OF THE STf41'~ (SF GALlFORN#A
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                                                  JU'€~G~ DAVED CflHN
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   Ti~1Al.S

            Trial dues ~r~; g~neraily Monday thrvug~h Thursday, 'f 1:0C1 a,m, tea 12:flt} p.m. and 9:30 }a.m, to 4:30
   p.m. L~r►gthy trials, however, rr~ay require devisYian from this schedule. Unless ot#~srwise ordered by the
   court, counsel and unrepresented parties must be prWsent in the ca~~rtroom at least ten minutes before eac~r
   session of trial ~ scheduled to begin,

           Vlfhen~ver pos~ible~ issues t~ be addressed outside fhe presence o3 thy± jury should be schedail~d in
   ~ rnant r Yo avoid the r~~~t1 For the jury to wait.

          Counsel are atst~ d€rested to khe "Rubs and Regt3irernents far Jury Trials" fog Dep~rtrnent S-2B
   (knawn ~s the "Green Sheet"). Gopies are available upar~ request in Department 5-26.




   Revised ~3cfober 25, 2U19

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